          Case 1:18-cv-02478-APM Document 31 Filed 09/28/20 Page 1 of 4




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

_________________________________________
                                          )
MICHELLE A. VICTOR                        )
                                          )
      Plaintiff,                          )
                                          )
             v.                           )                     Case No. 18-cv-02478 (APM)
                                          )
CSRA LLC,                                 )
                                          )
      Defendant.                          )
_________________________________________ )

                                   MEMORANDUM OPINION

        Before the court is Defendant CSRA, LLC’s Motion for Summary Judgment. ECF No. 26.

For the reasons that follow, Defendant’s Motion is granted in full.

        As a threshold matter, the court accepts as true all facts asserted in Defendant’s Statement

of Material Facts, ECF No. 26-1 [hereinafter Def.’s Stmt.]. Local Civil Rule 7(h)(1) states that an

opposition to a motion for summary judgment “shall be accompanied by a separate concise

statement of genuine issues setting forth all material facts as to which it is contended there exists

a genuine issue necessary to be litigated.” LCvR 7(h)(1). The court is permitted to assume the

truth of any fact identified by the moving party that is not “controverted in the statement of genuine

issues filed in opposition to the motion.” Id. The court’s summary judgment scheduling order in

this case reminded Plaintiff of her obligation to respond to Defendant’s factual statement and

warned of the consequences of not doing so. See Order, ECF No. 25, §§ II.B, II.D. Despite the

clear directions of the Local Rule and this court’s Order, Plaintiff failed to file a responsive factual

statement. See generally Pl.’s Opp’n to Def.’s Mot., ECF No. 29 [hereinafter Pl.’s Opp’n]. The

court therefore treats as admitted the facts set forth in Defendant’s Statement. See Oviedo v.
         Case 1:18-cv-02478-APM Document 31 Filed 09/28/20 Page 2 of 4




Washington Metro. Area Transit Auth., 948 F.3d 386, 396 (D.C. Cir. 2020) (describing Local Civil

Rule 7(h) as “obvious authority” to deem undisputed facts set forth in a movant’s unopposed

statement of material facts).

       Turning to the merits of Plaintiff’s causes of action, her Title VII claims based on disability

and veteran status fail, see Am. Compl., ECF No. 8 [hereinafter Am. Compl.], ¶ 35, because

neither characteristic is protected under Title VII. See 42 U.S.C. § 2000e-2.

       Next, Defendant moves for summary judgment on Plaintiff’s Section 1983 and wrongful

discharge claims. Am. Compl. ¶¶ 38–42, 30–33. Plaintiff offers no argument or evidence in

response. See generally Pl.’s Opp’n. “It is understood in this Circuit that when a plaintiff files an

opposition to a dispositive motion and addresses only certain arguments raised by the defendant,

a court may treat those arguments that the plaintiff failed to address as conceded.” Buggs v. Powell,

293 F. Supp. 2d 135, 141 (D.D.C. 2003). Plaintiff therefore has abandoned her Section 1983 and

wrongful discharge claims.

       With respect to Plaintiff’s Title VII claim based on race and her Section 1981 claim, see

Am. Compl. ¶¶ 24–29, 43–47, Defendant offers a non-discriminatory reason for Plaintiff’s

termination: “her persistent insubordination in refusing to report to the Maritime Plaza worksite

during core hours, along with the resulting negative effect of her behavior on client relations and

deliverables.” Def.’s Reply Mem. in Supp. of Def.’s Mot., ECF No. 30, at 7; Def.’s Mot. at 17–

19 (citing Def.’s Stmt. ¶¶ 51–62, 66–78, 81–93). As discussed, Plaintiff fails to dispute the facts

underlying this explanation, so for that reason alone she has not met her burden of showing that

her termination was motivated by discrimination or that the reason offered for her termination was

pretextual. See Ford v. Mabus, 629 F.3d 198, 201 (D.C. Cir. 2010).




                                                 2
         Case 1:18-cv-02478-APM Document 31 Filed 09/28/20 Page 3 of 4




       In her opposition brief, Plaintiff offers some argument and evidence to avoid summary

judgment, but these efforts are unavailing. First, she contends that her manager authorized her to

telework and, as support, attaches to her opposition an email from August 16, 2016, in which she

claims to have received such approval. See Pl.’s Opp’n at 5; id., Ex. B., ECF No. 29-2. But this

email fails to show pretext, for Plaintiff was informed the next day that she was not cleared to

telework, yet she continued to telework, take unapproved “leave,” and arrive late. See Def.’s Stmt.

¶¶ 81–92. Second, Plaintiff asserts that “other employees were similarly situated” but were

permitted to telework, see Pl.’s Opp’n at 5–6, yet she offers no evidence to support that contention.

She therefore cannot demonstrate pretext based on the favorable treatment of others similarly

situated. See Wheeler v. Georgetown Univ. Hosp., 812 F.3d 1109, 1115–16 (D.C. Cir. 2016).

Third, Plaintiff offers a position description to rebut Defendant’s contention that she was ineligible

to telework. See Pl.’s Opp’n at 6; id., Ex. D, ECF No. 29-4. Plaintiff, however, supplies no

evidence to establish that this was the position description for her job; thus, the description has no

probative value. See Oviedo, 948 F.3d at 397 (holding that trial court properly rejected job

description offered by employee because he “never submitted a declaration or affidavit stating that

Job Code 2854 was the same job description to which he applied in Fall 2013”). In any event, the

position description only says that the employee “may work remotely,” Ex. D at 5, which does not

create a genuine dispute of material fact when compared to the sea of evidence produced by

Defendant that Plaintiff was not authorized to telework, see Def.’s Mot. at 2 n.8. In short, there is

no genuine dispute of fact as to Defendant’s non-discriminatory reason for terminating Plaintiff.

       Finally, Plaintiff asserts a hostile work environment claim, Am. Compl. ¶ 45, but she offers

no evidence whatsoever to support it, so the claim cannot survive summary judgment.




                                                  3
        Case 1:18-cv-02478-APM Document 31 Filed 09/28/20 Page 4 of 4




      For the foregoing reasons, Defendant’s Motion for Summary Judgment, ECF No. 26, is

granted. A final order accompanies this Memorandum Opinion.




Dated: September 28, 2020                              Amit P. Mehta
                                                United States District Judge




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